      Case 4:19-cv-00304-BSM Document 28 Filed 10/14/21 Page 1 of 1




                 IN THE UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF ARKANSAS
                           CENTRAL DIVISION

TRAVIS COLE, JR.                                                           PLAINTIFF

v.                               4:19-CV-00304-BSM

JOHNSON CONTROLS, INC., et al.                                          DEFENDANTS


                                    JUDGMENT

     Consistent with the order entered today, this case is dismissed without prejudice.

     IT IS SO ORDERED this 14th day of October, 2021.


                                                ________________________________
                                                 UNITED STATES DISTRICT JUDGE
